Case: 4:13-cr-00091-DAP Doc #: 211 Filed: 07/31/13 1 of 1. PageID #: 1081




                 UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF OHIO
                       EASTERN DIVISION

UNITED STATES OF AMERICA                      )              CASE NO. 4:13cr91 - 25
                                              )
               Plaintiff,                     )
                                              )              Judge Dan A. Polster
               - vs -                         )
                                              )                ORDER
PAUL GRIMES,                                  )
          Defendant(s).                       )


                   The above-captioned case was referred to Magistrate Judge William

Baughman pursuant to General Order99-49, with the consent of the parties, for the purpose of

accepting a change of plea. The Magistrate Judge has filed his Report & Recommendation. No

objections were filed by either party.

                   The Court has reviewed the Magistrate Judge’s Report and Recommendation,

and find that in his careful and thorough proceeding, the Magistrate Judge satisfied all

requirements of Fed. R. Crim. P. 11 and the U.S. Constitution. The defendant knowingly,

intelligently, and voluntarily entered a plea of guilty to Count 1 of the indictment in 4:13cr91.

The Court hereby accepts and adopts the report and recommendation of Magistrate Judge

Baughman. Therefore, the Court accepts the defendant’s guilty plea and enters it accordingly.



IT IS SO ORDERED

                                                      /s/Dan Aaron Polster 7/31/13
                                                       Dan Aaron Polster
                                                       U. S. District Judge
